            Case 5:17-cv-05999-BLF Document 57 Filed 10/05/17 Page 1 of 2




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15   MOBILE NETWORKING SOLUTIONS, LLC

16                     UNITED STATES DISTRICT COURT
17                    CENTRAL DISTRICT OF CALIFORNIA
                            SOUTHERN DIVISION
18
19   MOBILE NETWORKING                     Case No.: 8:17-cv-00884-DOC-JCG
     SOLUTIONS, LLC,
20                 Plaintiff,              STIPULATION OF VOLUNTARY
                                           DISMISSAL AS BETWEEN
21                                         MOBILE NETWORKING
     vs.                                   SOLUTIONS, LLC AND
22                                         EXPERIAN INFORMATION
                                           SOLUTIONS, INC.
23   EXPERIAN INFORMATION
     SOLUTIONS, INC. and MAPR
24   TECHNOLOGIES, INC.,
25                 Defendants

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                   Case 5:17-cv-05999-BLF Document 57 Filed 10/05/17 Page 2 of 2




1             Plaintiff Mobile Networking Solutions, LLC (“Plaintiff”) and Defendant
2    Experian Information Solutions, Inc. (“Experian”) hereby stipulate pursuant to
3    Fed. R. Civ. P. 41(a)(1)(A)(ii) that the above-captioned action is voluntarily
4    dismissed with prejudice only as between Plaintiff and Experian as follows:
5             1.      Plaintiff hereby dismisses with prejudice its claims against Experian;
6             2.      Experian hereby dismisses with prejudice its counterclaims against the
7    Plaintiff; and
8             3.      Each of Plaintiff and Experian shall bear its own costs and attorneys’
9    fees.
10
11
     Dated: October 5, 2017                                 Respectfully submitted,
12
13           PERKINS COIE LLP                               ONE LLP
14
     By: /s/ Amy E. Simpson                            By: /s/Stephen M. Lobbin
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